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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-01861-STV


DAVID CAJIUAT,

       Plaintiff,

       v.

KLX ENERGY SERVICES HOLDINGS, INC., JOHN T. COLLINS, AMIN J.
KHOURY, THOMAS P. MCCAFFREY, RICHARD G. HAMERMESH,
BENJAMIN A. HARDESTY, STEPHEN M. WARD, JR., THEODORE L. WEISE,
and JOHN T. WHATES,

      Defendants.
______________________________________________________________________________

NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)
______________________________________________________________________________

       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff David Cajiuat hereby voluntarily dismisses the above-captioned action

as moot. Defendants have not served an answer or a motion for summary judgment.



Dated: July 27, 2020                               Respectfully submitted,

                                                   HALPER SADEH LLP

                                                   /s/ Daniel Sadeh
                                                   Daniel Sadeh, Esq.
                                                   375 Park Avenue, Suite 2607
                                                   New York, NY 10152
                                                   Telephone: (212) 763-0060
                                                   Facsimile: (646) 776-2600
                                                   Email: sadeh@halpersadeh.com

                                                   Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE

        I, Daniel Sadeh, hereby certify that on July 27, 2020, a true and correct copy of the annexed
NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)
was served in accordance with the Federal Rules of Civil Procedure with the Clerk of the Court
using the CM/ECF system, which will send a notification of such filing to all parties with an email
address of record who have appeared and consented to electronic service in this action.


Dated: July 27, 2020                          /s/ Daniel Sadeh
                                              Daniel Sadeh




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